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                                   DENVER POLICE DEPARTMENT                             OPEN
                                        GENERAL OFFENSE HARDCOPY
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